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 1   FENNEMORE CRAIG, P.C.
     Richard I. Dreitzer (Nevada Bar No. 6626)
 2   Elizabeth J. Bassett (Nevada Bar No. 9013)
     300 S. Fourth Street, Suite 1400
 3   Las Vegas, NV 89101
     Tel: (702) 692-8000
 4   Email: rdreitzer@fclaw.com; ebassett@fclaw.com

 5   SHUMAKER, LOOP & KENDRICK, LLP
     Scott A. La Porta, Esq.
 6   Admitted Pro Hac Vice
     240 S. Pineapple Ave, Suite 1000
 7   Sarasota, FL 34236
     Tel: (941) 366-6660
 8   slaporta@shumaker.com

 9   Counsel for PLAINTIFF,
     AMERIPRISE FINANCIAL SERVICES, INC.
10
                                    UNITED STATES DISTRICT COURT
11
                                           DISTRICT OF NEVADA
12
     AMERIPRISE FINANCIAL SERVICES,
13   INC.,                                          Case No.:    2:19-cv-01005-JCM-EJY

14            Plaintiff,
                                                                DEFAULT JUDGMENT
15   v.

16   DOROTHY GREPPIN POWERS,

17            Defendant.

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              Plaintiff,      AMERIPRISE   FINANCIAL     SERVICES,    INC.    (“PLAINTIFF”      or
20   “AMERIPRISE FINANCIAL”), appearing by and through its counsel of record, Richard I.

21   Dreitzer and Elizabeth J. Bassett of Fennemore Craig, P.C. and Scott A. La Porta of Shumaker,

22   Loop & Kendrick, LLP, having made its Motion for Entry of Default Judgment in favor of

     PLAINTIFF and against Defendant, DOROTHY GREPPIN POWERS (“DEFENDANT” or
23
     “POWERS”), said DEFENDANT having failed to make any appearance, a Default having been


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     entered against DEFENDANT for her failure to appear after notice having been given, and for
 2   good cause appearing,
 3            IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:

 4            1.        That the Arbitration Award issued on October 11, 2019 is hereby confirmed pursuant

     to 9 U.S.C. § 9;
 5
              2.        That judgment be entered in favor of PLAINTIFF and against DEFENDANT in the
 6
     principal amount of $185,433.07, which consists of: (a) $145,347.02 in compensatory damages; (b)
 7
     $36,279.10 in attorney fees; and (c) $3,806.95 in costs;
 8
              3.        That judgment in favor of PLAINTIFF and against DEFENDANT shall further
 9
     include interest on the $145,347.02 in compensatory damages, to accrue at the rate of 10% per
10   annum-which is $39.82 per day-until the amount is paid in full as set forth in the Arbitration Award;
11   and

12            4.        That judgment in favor of PLAINTIFF shall further include $1,488 for the costs of

13   this action.

14            IT IS SO ORDERED.
                                                           _______________________________________
15                                                         DISTRICT
                                                           UNITED   COURTDISTRICT
                                                                   STATES   JUDGE JUDGE
                                                                    May 8, 2020
16                                                         DATED: ______________________________

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